Case 6:19-cv-00513-ADA Document 159 Filed 05/20/21 Page 1 of 9

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                                                           May 20, 2021
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Case 6:19-cv-00513-ADA Document 159 Filed 05/20/21 Page 2 of 9
Case 6:19-cv-00513-ADA Document 159 Filed 05/20/21 Page 3 of 9
Case 6:19-cv-00513-ADA Document 159 Filed 05/20/21 Page 4 of 9
Case 6:19-cv-00513-ADA Document 159 Filed 05/20/21 Page 5 of 9
Case 6:19-cv-00513-ADA Document 159 Filed 05/20/21 Page 6 of 9
Case 6:19-cv-00513-ADA Document 159 Filed 05/20/21 Page 7 of 9
Case 6:19-cv-00513-ADA Document 159 Filed 05/20/21 Page 8 of 9
Case 6:19-cv-00513-ADA Document 159 Filed 05/20/21 Page 9 of 9
